UNITED STATES DISTRICT COURT
‘EASTERN DISTRICT OF NEW YORK

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JOHN PARKER,
Plaintiffs, COMPLAINT

-against- 7 | CV #::

 

INCORPORATED VILLAGE OF FREEPORT;
INCORPORATED VILLAGE OF FREEPORT
~ POLICE DEPARTMENT, and OFFICER
SANTOS,

Individually and as an Officer attached to the
INCORPORATED VILLAGE OF FREEPORT
POLICE DEPARTMENT,

Defendants.

 

 

1. Plaintiffs, bring this action to redress violations by defendants of plaintiffs
rights under the Constitution and Laws of the United States and the State of New York.
2. This is an action pursuant fo 42 U.S.C. § 1983 to redress the deprivation of
the color of statute, ordinance, regulation, custom or usage of rights, privileges and
immunities secured to the plaintiffs by the Fourth and Fourteenth Amendment to the

Constitution of the United States; namely, the right to:

a) Freedom from illegal detention;
b) Freedom from physical abuse and unreasonable search;
C) Freedom from unreasonable searches and seizures; and for redress

of the violation of the laws and the common jaw of the United States of America and the
Constitution, the common law, and the jaws of the State of New York:

3. Jurisdiction is conferred on this Court by 28 U.S.C. §1343 (3)

which confers original jurisdiction of the Federal District Courts in suits to redress the
deprivation of rights, privileges and immunities as stated in oaragraph 2 hereof.

4. Plaintiffs invoke the pendant jurisdiction of this Court in connection with the
stated claims as set forth herein, and the jurisdiction of this Court is invoked under 28
U.S.C. §1331, the amount of damages claimed being In excess of $100,000.00 for each
olaintiff.

5. That at all times relevant to this Complaint, defendants separately and in |
concert. acted under color and pretense of law, to wit: Under color of the statutes,
ordinances, regulations, customs and usages of the State of New York and of the County
of Nassau.

G. That at all times relevant to. this Complaint, defendants engaged in the illegal
conduct herein mentioned to. the injury of the plaintiffs, and deprived plaintiffs of their
rights, privileges and immunities. secured to them by the Fourth and Fourteenth

Amendments to the Constitution of the United States and the laws of the State of New

— York.

PARTIES |

 

7. Plaintiff, JOHN PARKER, ts a citizen of the State of New York and
resides in the State of New York, County of Nassau, and has been a resident thereof at all
times relevant to this Complaint.

8 The defendant, INCORPORATED VILLAGE OF FREEPORT, is a municipal
corporation within the State of New York, and at all times relevant hereto employed the
individual defendants as police officers and maintained the Incorporated Village of

Freeport Police Department.
9. Upon information and belief at all times relevant to this Complaint,
defendant police officers were acting in their official capacity and their acts were performed
under color of the statutes, ordinances, rules and regulations of the State of New York and
its municipal subdivisions.

10. At al times relevant to this Complaint, defendants were acting within the
scope of their employment and in their official capacity and did perform illegal acts
hereinafter alleged under coior of law.

FACTS

12. On or about August 9 2018, the plaintiff was taken by police officer
SANTOS, and other police officers, fromm the vicinity of 121 Lillian Ave., Freeport with
the violation of disorderly conduct. Plaintiff was beaten with, among other things, a billy
club, before being handcuffed after being arrested and brought to the Court for
arraignment, in violation of his Fourth Amendment Rights and in viclation of the rules
and regulations of the Incorporated Village of -reeport Police Department.

13. The plaintiff was unlawiuily arrested and unlawtully restrained.

14. That Officer Santos did attack plaintiff and then was removed by the other
officers, at which point, Officer Santos attacked plaintiff once again.

45. All of the events described were utterly without justification or excuse in fact
or in law.

16. Defendants, separately and in concert, acted outside the scope of their
jurisdiction and without authorization of law, and acted willfully, knowingly and purposely
with the specific intent to deprive plaintiff, JOHN PARKER, of his right from illegal arrest,

coercion and intimidation.
17. These rights are secured to the plaintiffs by provisions of the due process cause
of the Fourteenth Amendments to the Constitution of the United States by 42 U.S.C §1983 |
and the statues and laws of the State of New York.

18. Plaintiff JOHN PARKER: suffered a multiple injuries to his lower right back, his
left eye, his left hand and a titanium flex rod at C-3, C-4, and a C-6 infusion because of the
excessive and unnecessary force of the Officer(s).

19. As a result of the foregoing acts committed against plaintiffs by defendants,
plaintiffs have sustained damage to his character and reputation, degradation, humiliation, |
embarrassment, false arrest, false imprisonment and malicious prosecution. As a result of
said acts, plaintiff, JOHN PARKER, has feared and continue to fear repetition of said acts
of defendants and as a result have continued to suffer anxiety and emotional distress.

20. As a result of the aforementioned course of events in viclation of their .
constitutional rights, plaintiff, JOHN PARKER, has been damaged in the sum of FIVE
HUNDRED THOUSAND ($500,000.00) DOLLARS.

AS AND FOR A SECOND CAUSE OF ACTION

21. Plaintiffs, JOHN PARKER, repeats and reiterates each and every allegation |

contained in paragraphs number "1" through "20" as though fully sat forth at length

herein.

 

292. That defendants, INCORPORATE VILLAGE OF FREEPORT and

 

 

 

 

 

INCORPORATED VILLAGE OF FREEPORT POLICE DEPARTMENT were negligent
in the hiring, training, discipline and supervision of the aforementioned defendant

Ofcers.

23. That defendants, INCORPORATE VILLAGE OF FREEPORT and
INCORPORATED VILLAGE OF FREEPORT POLICE DEPARTMENT, knew or should
have known that the aforementioned defendant officers were of vicious propensity.

24. That defendants, INCORPORATE VILLAGE OF FREEPORT and
INCORPORATED VILLAGE OF FREEPORT POLICE DEPARTMENT, could
reasonably have anticipated the dispositions of the aforesaid defendant officers would
likely result in injury to others.

25, That defendants, INCORPORATE VILLAGE OF FREEPORT and
INCORPORATED VILLAGE OF FREEPORT POLICE DEPARTMENT, failed to use
reasonable care to correct or remove the aforesaid officers.

26. That as a result of the negligence af defendants INCORPORATE VILLAGE
OF FREEPORT and INCORPORATED VILLAGE OF FREEPORT POLICE
DEPARTMENT, plaintiff, JOHN PARKER, has been damaged in the sum of FIVE
HUNDRED THOUSAND ($500,000.00) DOLLARS,

2/7. 10 successfully plead a cause of action for malicious prosecution plaintiffs
must provide proof of 1) the cornmencement or continuation of a ... proceeding by the
defendant against the plaintit, 2) the termination of the proceeding in favor of the
plaintiff, 3) the abs sence of probable cause for the ... proceeding anc 4) actual malice. A
plaintiff must also allege and prove spécial injury {internal quotation marks and citations
omitted]. Wilhelmina Madels, inc. Vv Fleisher 19. AD3d 267, 269 (ist Dept 2005).

28. The proceeding was commenced by Defendants herein and has been
terminated favorably to Plainiiff, JOHN PARKER, in Freeport Village Court where an

adjournment in contemplation of dismissal was granted by the Justice Court.
29. The other remaining elements, that there was no probable cause and that

there was actual malice have been laid out and discussed above.

WHEREFORE, plaintifis demand judgment against the defendants as follows:

a) Judgment on the First Cause of Action in the sum of FIVE HUNDRED THOUSAND
($500,000.00) DOLLARS in compensatory damage for plaintiff,

b) Judgment on the First Cause of Action in the sum of FIVE HUNDRED THOUSAND
($100, 000.00) DOLLARS puntiive damages for plainin

C) Judgment in the Second Cause of Action in the sum of FIVE HUNDRED
THOUSAND ($500,000.00) DOLLARS itn compensatory damages for plaintiff as
against defendants, INCORPORATE VILLAGE OF FREEPORT and INCORPORATED
VILLAGE OF FREEPORT POLICE DEPAR TMENT,

ch} Judgment on the Second Cause of Action in the sum of FIVE HUNDRED
THOUSAND ($700,000.00) DOLLARS ounitive damages for plaintiff as against
defendants. INCORPORATED VILLAGE OF FREEPORT and INCORPORATED
VILLAGE OF FREEPORT POLICE DEPARTMENT,

&) Judament on the Third Cause of Action in the sum of FIVE HUNDRED THOUSAND
($500,000.00) DOLLARS in compensatory damage for plaintiff,

f Judgment on the Third Cause of Action in the sum of FIVE HUNDRED THOUSAND
($400,000.00) DOLLARS punitive damages for piainti,

g) Costs and disbursements of this action; and

hi} Such other and further and different relief as this Court may deem just and proper.
Dated: Mineola, New York
December 12, 2019

Yours e@ic.,

LAW OFFICES OF PE

BY:

 

 
  

AAD, JR. PC

 

 

PETIER A.

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SAADAR., ESQ., (PS9790)
747 East Mam ot.
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

JOHN PARKER,
Plaintiffs, JURY DEMAND

-against- CV #::

 

 

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INCORPORATED VILLAGE OF FREEPORT
POLICE DEPARTMENT: and OFFICER
SANTOS,

Individually and as an Officer attached to the |
INCORPORATED VILLAGE OF FREEPORT
POLICE DEPARTMENT,

 

 

 

Defendants.

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PLEASE TAKE NOTICE, that the undersigned demands a trial by Jury.

Dated: tivernead, New York
Mecember 17, 2019.

Yours etc.,

LAW OFFICES OF PE

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SY: _
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. 747 East Main St.
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 ESQ., (PS9790)
